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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MISSOURI
                                SOUTHEASTERN DIVISION

                                           §       Chapter 11
 In re:                                    §
                                           §       Case No. 20-43597-399
 BRIGGS & STRATTON                         §
 CORPORATION, et al.,                      §       (Jointly Administered)
                                           §
                Debtors.                   §       Objections Due: March 31, 2021
                                           §       Hearing Date: April 14, 2021
                                           §       Hearing Time: 9:00 a.m. (Central Time)
                                           §       Hearing Location: Courtroom 5 North
                                           §       111 S. 10th St., St. Louis, MO 63102


                        NOTICE OF HEARING ON
             SECOND INTERIM AND FINAL FEE APPLICATION OF
           WEIL, GOTSHAL & MANGES LLP FOR ALLOWANCE AND
        PAYMENT OF COMPENSATION FOR PROFESSIONAL SERVICES
   RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED AS COUNSEL
  TO THE DEBTORS FOR THE PERIOD JULY 20, 2020 THROUGH JANUARY 6, 2021


          PLEASE TAKE NOTICE that a hearing (the “Hearing”) on the Second Interim and

 Final Fee Application for Allowance and Payment of Compensation for Professional Services

 Rendered and Reimbursement of Expenses Incurred as Counsel to the Debtors for the Period from

 July 20, 2020 through January 6, 2021 (the “Application”) is scheduled for April 14, 2021 at

 9:00 a.m. (Central Time) in Courtroom 5-North at the United States Bankruptcy Court for the

 Eastern District of Missouri, Thomas F. Eagleton United States Courthouse, 111 South Tenth

 Street, St. Louis Missouri.


          ANY OBJECTIONS OR EXCEPTIONS TO ENTRY OF THE ORDER ON A

 FINAL BASIS MUST BE FILED BY NO LATER THAN MARCH 31, 2021 AND MUST BE

 SERVED UPON THE UNDERSIGNED AND FILED WITH THE CLERK OF THE

 UNITED STATES BANKRUPTCY COURT, THOMAS F. EAGLETON COURTHOUSE,
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 111 SOUTH TENTH STREET 4TH FLOOR, ST. LOUIS, MISSOURI 63102 AS PER THE

 ELECTRONIC CASE FILING REQUIREMENTS OF THE COURT.


        PLEASE TAKE FURTHER NOTICE that the Application has been electronically filed

 with the Clerk of the Bankruptcy Court and, as such, may be obtained: (i) by accessing the Court’s

 website at https://ecf.moeb.uscourts.gov through an account obtained from the Pacer Service

 Center at 1-800-676-6856 or www.pacer.gov or (ii) free of charge, by accessing the Debtors’ case

 information website at http://www.kccllc.net/Briggs.


        PLEASE TAKE FURTHER NOTICE that interested parties who wish to appear

 telephonically may request dial-in information from the Courtroom Deputy, Shontelle McCoy at

 (314) 244-4806, Shontelle_McCoy@moeb.uscourts.gov.


        PLEASE TAKE FURTHER NOTICE that your rights may be affected. You should read

 the Application carefully and discuss them with your attorney, if you have one in the chapter 11

 cases. (If you do not have an attorney, you may wish to consult one).


        PLEASE TAKE FURTHER NOTICE that if you do not want the Court to grant the relief

 requested in the Application, or if you want the Court to consider your views on the Application,

 then you or your attorney must attend the Hearing.




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        If you or your attorney do not take these steps, the Court may decide that you do not

 oppose the relief sought in the Application and may enter orders granting the relief requested in

 the Application.


 Dated: March 5, 2020
        St. Louis, Missouri
                                              Respectfully submitted,

                                              CARMODY MACDONALD P.C.


                                                /s/ Robert E. Eggmann
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                                              Christopher J. Lawhorn, #45713MO
                                              Thomas H. Riske, #61838MO
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                                                      thr@carmodymacdonald.com

                                              Local Counsel to the Debtors and
                                              Debtors in Possession
                                              -and-
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                                              Counsel to the Debtors
                                              and Debtors in Possession




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